           Case 4:21-cv-05029-EFS                  ECF No. 27        filed 12/01/21       PageID.1133 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                             FILED IN THE
                                                                                                              U.S. DISTRICT COURT
                                                                                                        EASTERN DISTRICT OF WASHINGTON
                                                                  for thH_
                                                     Eastern District of Washington                      Dec 01, 2021
                                                                                                              SEAN F. MCAVOY, CLERK
                          BRANDY C.,
                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 4:21-cv-5029-EFS
                                                                     )
                                                                     )
                  KILOLO KIJAKAZI,
          Acting Commissioner of Social Security,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: The parties’ Stipulated Motion for Remand, ECF No. 25, is GRANTED.
u
              This matter is REVERSED and REMANDED to the Commissioner of Social Security for further administrative
              proceedings pursuant to sentence four of 42 U.S.C. § 405(g).
              Judgment is entered for the Plaintiff.


This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge              Edward F. Shea                                                on parties’ Stipulated Motion for Remand.




Date: December 1, 2021                                                     CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Sara Gore
                                                                                           %\ Deputy Clerk

                                                                            Sara Gore
